   Case 3:23-cv-00086    Document 33    Filed on 09/08/23 in TXSD    Page 1 of 1
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                        September 08, 2023
                    UNITED STATES DISTRICT COURT
                                                                         Nathan Ochsner, Clerk
                     SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

JAMES ENGLISH,                          §
                                        §
       Plaintiff,                       §
                                        §
VS.                                     §               3:23-cv-86
                                        §
FREEDOM MORTGAGE                        §
CORPORATION,                            §
                                        §
       Defendant.                       §

                              FINAL JUDGMENT

      Pursuant to the court’s order adopting the magistrate judge’s memorandum

and recommendation, it is ordered that this matter is dismissed.

      This is a final judgment.

      The Clerk will provide copies of this judgment to the

      parties.Signed on Galveston Island this 8th day of Sept2023


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                                            JEFFREY VINCENT BROWN
                                         UNITED STATES DISTRICT JUDGE
